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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                CASE NO.

  CINTYA LARIOS GUZMAN, individually and
  on behalf of a class of similarly situated
  individuals,
                                                           CLASS ACTION
                          Plaintiff,

  v.


  SPIRIT AIRLINES, INC., a Delaware
  corporation,

                   Defendant.
  ________________________________/

               CLASS ACTION COMPLAINT & DEMAND FOR JURY TRIAL

        Plaintiff, Cintya Larios Guzman, both individually and on behalf of similarly situated

 individuals, brings this Class Action Complaint & Demand for Jury Trial against Defendant, Spirit

 Airlines, Inc. (“Spirit”), to put a stop to Defendant’s unlawful practice of selling passes that purport

 to allow its customers to skip airport security, when Defendant often has no intent or ability to

 provide such a service, and to obtain redress for those who have been harmed by Defendant’s

 conduct. Plaintiff alleges as follows based upon personal knowledge as to her own acts and

 experiences, and as to all other matters, upon information and belief, including an investigation

 conducted by her attorneys.

                                       NATURE OF THE ACTION

        1.      Defendant offers its customers the opportunity to pay for the ability to “skip” the

 normal airport security line. A customer can do this by purchasing Spirit’s “Shortcut Security”

 option for $6–$8 at designated airports in the United States. According to its description, Spirit’s




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 Shortcut Security option is supposed to be a separate line distinct from the general security line,

 which is faster for Spirit customers that pay the fee.

        2.      The ability to bypass the busy security line at Los Angeles Airport (“LAX”) has

 immense value, and almost all travelers who have been to LAX know what a benefit said service

 would be. As such, thousands of Defendant’s customers would happily pay $8 to skip the security

 line at LAX.

        3.      However, Spirit is able to offer this service at such an inexpensive rate because the

 service is illusory. In fact, there generally is no way to skip the normal airport security line apart

 from having a TSA “Precheck” designation. Most airports in the United States do not allow airlines

 to conduct security themselves or to contract for a shorter security line available for only one

 airline carrier’s customers.

        4.      Spirit’s Shortcut Security agreement is distinct from the airline ticket sale known

 as the Contract of Carriage and is sold to the customer during the check-in process, which is

 generally much shorter and provides far less opportunity to review any selections made.

        5.      Plaintiff, Larios Guzman, purchased Spirit’s Security Shortcut service for $8 while

 attempting to check-in on her phone prior to the flight.

        6.      During Plaintiff’s attempt to locate the “Shortcut Security” line to which she

 purchased access, she soon realized that no such line exists at LAX airport.

        7.      Indeed, a quick google search reveals that most, if not all, of the airports at which

 Spirit offers their “Shortcut Security” pass do not actually offer a “Shortcut Security” line.

        8.      Even though Spirit knows that it cannot provide any “Shortcut Security” service, it

 continues to offer and sell it to consumers.




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         9.      Defendant’s conduct in selling its “Shortcut Security” service is unlawful,

 deceptive, unfair and an ongoing violation of the rights of its customers. Further, Plaintiff and

 other consumers would not have purchased such a service from Defendant had they known that

 Defendant had no way to fulfill what they contracted to purchase.

         10.     On behalf of herself and a proposed Class defined below, Plaintiff seeks an

 injunction requiring Defendant to stop advertising and selling its “Shortcut Security” passes and

 to comply with Florida’s Deceptive and Unfair Trade Practices Act and common laws, as well as

 an award of actual and compensatory damages to the Class, together with costs and reasonable

 attorneys’ fees.

                                    JURISDICTION & VENUE

         11.     This Court has subject matter jurisdiction over this matter pursuant to the Class

 Action Fairness Act, 28 U.S.C. § 1332(d) et seq., because this case is a putative class action in

 which the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and

 costs; there are greater than 100 putative class members; at least one putative class member is a

 citizen of a state other than Defendant’s states of citizenship; and none of the exceptions under

 subsection 1332(d) apply to this action.

         12.     This Court has general personal jurisdiction over Defendant with respect to

 Plaintiff’s and the other putative class members’ claims, because Defendant is incorporated in

 Florida and Defendant’s principle place of business is in Florida.

         13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Defendant

 resides in this District, and because a substantial part of the events giving rise to Plaintiff’s claims

 occurred in this District, as Defendant contracted with Plaintiff and the other putative class

 members from within this District.




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                                               PARTIES

         14.     Defendant is a Delaware corporation headquartered in Miramar, Florida. Defendant

 is the seventh largest commercial airline in the United States and operates scheduled flights

 throughout the country.

         15.     Plaintiff is a natural person who resides in Virginia.

                                  COMMON ALLEGATIONS OF FACT

 Background

         16.     Spirit Airlines is a budget airline that forgoes many of the comforts and amenities

 that other airlines provide in order to sell flights at a lower rate than many of its competitors. To

 make up for its lower fares, Spirit charges its passengers extra fees for almost every convenience

 incident to the flight itself.

         17.     For example, Spirit charges an additional $10 fee to check-in at the airport, $55 to

 bring a carry-on bag, and $50 for a stowed bag. Passengers can also pay extra to have an early

 seating option, to select their seat, to eat or drink anything on the flight or, as is the case here, the

 option to skip the normal security line.

         18.     According to Defendant, Spirit’s “Shortcut Security” option functions as a way to

 bypass the normal airport security line for a person who is running late or just does not want to

 stand in the normal security line.




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 (Figure 1)

        19.      Contrary to what Spirit represents about its service, however, it is the TSA that

 controls the security access to an airport and unless a person has the TSA “Precheck” designation,

 they must go through the same general TSA security line as passengers who did not purchase any

 “Shortcut Security” service.

        20.      Undeterred, Spirit offers the “Shortcut Security” service to its customers during the

 check-in process even in situations when it knows that it does not and cannot actually provide any

 such service.



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           21.     Defendant, through its unfair and deceptive practices in offering the “Shortcut

 Service,” monetarily benefits from passengers who may legitimately need to go through security

 faster.

           22.     Indeed, there are numerous consumer complaints posted online from customers

 who have found that there is no Spirit “Shortcut Security” line, or any other equivalent line, at

 almost every airport that Spirit supposedly offers this service at.

           Great prices, friendly flight staff but the workers at the airports are the problem.
           We flew from Detroit to Fort Lauderdale and then on to St. Thomas USVI. We
           paid extra for security shortcut that was not honored or does not exist in
           Detroit or Fort Lauderdale. They outright told us that it did not matter what we
           paid for or what the ticket said, everyone stands in the same line and everybody
           waits their turn. We wasted money!1

           Got to the airport and paid for “Express Check In and Express Security. Never
           received either. TSA agent said they don’t recognize Express at that
           airport…Following day requested credit for the bogus “Express Check In and
           Express Security”. Support has offered a Spirit Credit which is completely useless.
           I paid in US Dollars and I want a refund in US Dollars. Not a worthless credit on a
           worthless airline.”2

 Facts Specific to Plaintiff

           23.     On August 11, 2019, Plaintiff was to take a late flight home from LAX airport to

 Dulles International Airport outside of Washington D.C.

           24.     Realizing that reaching the airport would likely take longer than expected due to

 construction at the airport, as well as the general mayhem that accompanies flying out of LAX,

 Plaintiff, attempting to check-in on her phone, saw that Spirit had an option to “Shortcut Security”

 for only $8. Knowing that she was running late and would likely need to make up some time,

 Plaintiff purchased said “Shortcut Security” service on her cellphone.




 1
     https://www.tripadvisor.com/ShowUserReviews-g1-d8729157-r452494378-Spirit_Airlines-World.html#
 2
     https://www.tripadvisor.com/ShowUserReviews-g1-d8729157-r586230377-Spirit_Airlines-World.html#


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        25.     After checking her bag, Plaintiff attempted to find the “Shortcut Security” lane.

 Plaintiff went to the only security checkpoint of her terminal and asked the TSA agent for Spirit’s

 “Shortcut Security” checkpoint. The TSA agent stationed there replied that there was no Spirit

 “Shortcut Security” lane. The TSA Agent further informed Plaintiff that the security line she was

 in was the only security line for the terminal apart from TSA Precheck.

        26.     Plaintiff, despite purchasing access to the “Shortcut Security” line, was forced to

 use the general security line, receiving no benefit of the bargain she struck with the Defendant.

 There was no dedicated security line for Spirit customers, nor was there a designated queuing line.

 Instead, there was only one security line that all passengers were required to use.

        27.     Apart from almost missing her flight, Plaintiff also suffered monetary damages as

 a result of Spirit’s advertising and sale of the “Shortcut Security” option when no such “Shortcut

 Security” was available.

        28.     Defendant’s actions in advertising and selling to Plaintiff its “Shortcut Security”

 service when no such service was actually available or provided, violated Plaintiff’s common law

 rights under state law.

                                CLASS ACTION ALLEGATIONS

        29.     Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiff seeks certification of the

 following class of similarly situated individuals:

        The Class: All individuals within the United States who, at any time within the applicable
        limitations period, purchased Spirit Airlines’ “Shortcut Security” service when no such
        service was available.

        30.     Excluded from the Class are any members of the judiciary assigned to preside over

 this matter; any officer or director of Defendant; and any immediate family member of such

 individuals.




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        31.       Numerosity: Upon information and belief, there are thousands of members of the

 Class, making the members of the Class so numerous that joinder of all members is impracticable.

 Although the exact number of members of the Class is currently unavailable to Plaintiff, the

 members can be easily identified through Defendant’s records.

        32.       Typicality: Plaintiff’s claims are typical of the claims of the Class she seeks to

 represent, because the factual and legal bases of Defendant’s liability to Plaintiff and the Class is

 the same, and because Defendant’s conduct has resulted in similar injuries to Plaintiff and to the

 Class. As alleged herein, Plaintiff and the Class have all suffered damages as a result of

 Defendant’s unfair and deceptive business practices as well as its false advertising.

        33.       Adequacy: Plaintiff will fairly and adequately represent and protect the interests

 of the other members of the Class. Plaintiff has retained counsel with substantial experience in

 prosecuting complex litigation and class actions, and Plaintiff and her counsel are committed to

 vigorously prosecuting this action on behalf of the members of the Class and have the financial

 resources to do so. Neither Plaintiff nor her counsel has any interest adverse to those of the other

 members of the Class.

        34.       Commonality & Predominance: Common questions of law and fact exist as to all

 members of the Class, and such questions predominate over questions affecting Plaintiff or

 individual members of the Class. Common questions for the Class include, but are not limited, to

 the following:

        (a)       Whether Defendant advertised and sold a “Shortcut Security” option which it did

                  not actually provide to its consumers at LAX and other airports throughout the

                  nation?




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           (b)   Whether Defendant engaged in fraudulent, false, deceptive and/or unfair conduct

                 and business practices in advertising and selling its “Shortcut Security” service

                 when it had no intention or ability to offer that service?

           (c)   Whether Defendant was unjustly enriched by receiving profits from its sales of the

                 “Shortcut Security” service?

           (d)   Whether Defendant should be enjoined from engaging in such conduct in the

                 future?

           (e)   Whether Plaintiff and the members of the Class have suffered damages as a result

                 of their respective purchases of Defendant’s “Shortcut Security” service?

           35.   Superiority: Absent a class action, most members of the Class would find the cost

 of litigating their claims to be prohibitive and would have no effective remedy. The class treatment

 of common questions of law and fact is also superior to multiple individual actions or piecemeal

 litigation in that it conserves the resources of the courts and the litigants and promotes consistency

 and efficiency of adjudication.

           36.   Defendant has acted and failed to act on grounds generally applicable to the

 Plaintiff and the other members of the Class in advertising and selling the “Shortcut Security”

 service at issue, requiring the Court’s imposition of uniform relief to ensure compatible standards

 of conduct toward the members of the Class and making injunctive or corresponding declaratory

 relief appropriate for the Class as a whole.

                                  FIRST CAUSE OF ACTION
                                Common Law Breach of Contract
                               (On behalf of Plaintiff and the Class)

           37.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

 herein.




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          38.     On August 11, 2019, Plaintiff, like the other members of the Class, purchased the

  “Shortcut Security” service from Spirit Airlines while checking in to her flight at the LAX Airport.

          39.     As such, Plaintiff and the Class members provided monetary compensation in

  exchange for receiving the “Shortcut Security” service.

          40.     A valid contract was formed with Defendant when Plaintiff and the other members

  of the Class made their respective purchases from Defendant.

          41.     The contracts between Plaintiff and the other Class members and Defendant are

  supported by bargained-for consideration and were entered into following offer and acceptance of

  the definite and certain terms regarding payment of $6 - $8 in exchange for the ability to shortcut

  the airport security line.

          42.     Under Defendant’s contracts with Plaintiff and the other members of the Class,

  Defendant promised to Plaintiff and the other members of the Class that it would provide “Shortcut

  Security” service that, in exchange for the stated sum, would allow them access to an expedited

  security line at the airport.

          43.     Plaintiff and the other members of the Class complied with all of the terms of their

  agreements with Defendant and performed all other conditions and duties under their contracts

  with Defendant for the transactions at issue.

          44.     However, Defendant failed to perform its obligations under the contracts entered

  into with Plaintiff and the other members of the Class and thus breached those contracts, as

  Defendant never actually provided a “Shortcut Service” of any kind at LAX, or at the other airports

  where the other members of the Class sought to use the “Shortcut Security” service.

          45.     Neither Plaintiff, nor the Class, received any benefit from the “Shortcut Security”

  service which they purchased and contracted for.




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         46.     As a direct and proximate result of Defendant’s breaches of its contracts with its

  customers, Plaintiff and the other members of the Class have suffered actual harm and are entitled

  to recover compensatory damages at least in an amount equal to the amounts paid for a “Shortcut

  Security” service that Defendant failed to provide.

                                 SECOND CAUSE OF ACTION
                             Common Law Breach of Implied Contract
                               (On behalf of Plaintiff and the Class)

         47.     Plaintiff incorporates by reference the allegations in paragraphs 1 - 36 above.

         48.     Through their conduct and actions, Plaintiff and the other Class members entered

  into implied contracts in law and in fact with Defendant. Specifically, when Plaintiff and the other

  Class members purchased the “Shortcut Security” service from Spirit Airlines under the terms

  Defendant advertised, Plaintiff and the other members of the Class entered into implied contracts

  with Defendant.

         49.     Under these implied contracts, Plaintiff and the other Class members reached a

  meeting of the minds and mutual understanding with Defendant that, in exchange for the stated

  sum, Defendant would allow them access to an expedited security line at the airport.

         50.     Defendant breached its implied agreement with Plaintiff and the other members of

  the Class by, among other things, failing to actually provide a “Shortcut Service” of any kind at

  LAX, or at the other airports where the other members of the Class sought to use the “Shortcut

  Security” service.

         51.     As a direct and proximate result of Defendant’s breach of its implied agreements

  with Plaintiff and the Class members, Plaintiff and the other Class members have suffered actual

  monetary damages, pecuniary losses, and other harms as described herein, all of which have

  ascertainable value to be proven at trial.




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                                  THIRD CAUSE OF ACTION
                 Violation of Florida’s Deceptive and Unfair Trade Practices Act
                                   FLA. STAT. § 501.201, et seq.
                               (On behalf of Plaintiff and the Class)

         52.       Plaintiff incorporates by reference the allegations in paragraphs 1 – 36 above.

         53.       Plaintiffs and Class members are “consumers” within the meaning of Fla. Stat. §

  501.203(7) because they are individuals.

         54.       Spirit was engaged in “trade or commerce” within the meaning of Fla. Stat. §

  501.203(8) because they were offering and advertising the Shortcut Security service.

         55.       Spirit has its principle place of business in Florida, is incorporated in Florida, and,

  on information and belief, it operates its call center and online purchasing software from within

  the State of Florida. It also collects monies from Shortcut Security service sales throughout the

  United States in Florida.

         56.       Spirit offers to its costumers their Shortcut Security service, have offered it to

  Plaintiff and Class members at locations where the Shortcut Security service is nonexistent and

  retained payments Plaintiff and the Class has made without providing said service.

         57.       The Shortcut Security service was supposed to provide to Plaintiff a dedicated

  Spirit Shortcut Security line at Los Angeles International Airport but did not.

         58.       Spirit’s conduct constitutes unfair methods of competition, unconscionable acts or

  practices, and unfair or deceptive acts or practices within the meaning of Fla. Stat. § 501.204, et

  seq. because, despite representations to the contrary, there was no Shortcut Security service

  provided at Los Angeles International Airport or many of the other airports said to provide this

  service by Spirit.

         59.       Plaintiff purchased Spirit’s Shortcut Security based upon Spirit’s false statements

  and omissions.



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         60.     Moreover, a reasonable consumer would understand the Shortcut Security service

  to mean that there would be a dedicated Shortcut Security line available at the airport in which

  they were going through security.

         61.     Due to the lack of a Spirit Shortcut Security line at Los Angeles International

  Airport, Defendant is the direct and proximate cause of Plaintiffs’ injuries. The injuries, inter alia,

  include the $8 paid by Plaintiff as the cost to use the Shortcut Security service at Los Angeles

  International Airport, which can be cheaper at other airports ($6).

         62.     Therefore, Plaintiff and the Class members suffered actual damages within the

  meaning of Fla. Stat. § 501.211 due to Spirit’s misrepresentations. The Shortcut Security service

  that Plaintiff purchased was illusory and failed to adhere to Spirit’s representations.

                                 FOURTH CAUSE OF ACTION
                                Common Law Unjust Enrichment
         (On behalf of Plaintiff and the Class and in the alternative to Counts I and III)

         63.     Plaintiff incorporates by reference the allegations in paragraphs 1 - 36 above.

         64.     Plaintiff and the other members of the Class have conferred substantial benefits to

  Defendant when they purchased Spirits’ “Security Shortcut” service.

         65.     The amount of the benefit Defendant received is measurable by the amounts it

  collected from customers’ payments for the Security Shortcut service. Defendant has been unjustly

  enriched by any portion of this benefit that it has retained or withheld, or any monies it has derived

  from retained or withheld amounts. Defendant appreciates or has knowledge of such benefit.

         66.     Defendant’s retention of this benefit violates fundamental principles of justice,

  equity, and good conscience. Spirit never provided Plaintiff and the other members of the Class

  with any “Security Shortcut” service, and Spirit Airlines knew or reasonably should have known




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  that Plaintiff and the other members of the Class would not receive any benefits for their purchases

  of the “Security Shortcut” service.

         67.     Indeed, Defendant kept payments from numerous consumers, including Plaintiff

  and the other members of the Class despite the countless reviews which shed light on the issue that

  there was no “Security Shortcut” line being provided at the various airports where the service was

  advertised and sold.

         68.     It would be inequitable and unjust for Defendant to retain the benefit of monies

  charged for services it had no intent or ability to provide.

         69.     Defendant’s retention of the payments received from Plaintiff and the other

  members of the Class is unconscionable, and unless these payments are reimbursed, Defendant

  Spirit Airlines will be unjustly enriched.

         60.     As the direct and proximate result of Spirit’s unjust enrichment, Plaintiff and the

  Class are entitled to restitution of all profits, benefits, and other advantages attained by Defendant

  through the unlawful and deceptive conduct described herein.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on her own behalf and on behalf of the other Class members,

  requests the following relief:

         A.      Entry of an order certifying the Class as defined above, appointing Plaintiff as class

                 representative, and the undersigned as class counsel;

         B.      Entry of an order declaring that Defendant’s actions, as set forth herein, are

                 unconscionable and force Spirit Airlines to return all benefits gained and profits

                 received from sales of the non-existent “Shortcut Security” service so as to make

                 full restitution to Plaintiff and the Class;




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        C.      Entry of an order declaring that Defendant be financially responsible for ending or

                actually providing its “Shortcut Security” service to consumers;

        D.      Entry of an order enjoining Defendant from continuing to deceptively and

                misleadingly advertise its Shortcut Security service;

        E.      An award of actual, compensatory, and any other damages for Plaintiff and the

                other putative Class members in an amount to be determined at trial;

        F.      An award of punitive and exemplary damages to the Class members in an amount

                to be determined at trial;

        G.      An award of reasonable attorneys’ fees, costs, and other litigation expenses;

        H.      An award of pre- and post-judgment interest, as allowable by law; and

        I.      An award of such further and other relief as the Court deems just and equitable.

                                          JURY DEMAND

        Plaintiff requests trial by jury of all claims that can be so tried.


  Dated: November 1, 2019                      Respectfully submitted,

                                               CINTYA LARIOS GUZMAN, individually and on
                                               behalf of other similarly situated individuals.

                                               By: /s/ David P. Healy
                                               One of Plaintiff’s Attorneys

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